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                                                                        Doc ff 2023001401
                                                                        03/07/2023 03:06 PH      tt Pages 7
                                                                        Official Records of ST THOMAS/ ST JOHN
                                                                        ERICA DOVER M.P.A., RECORDER OF DEEDS
 After recording retu rn to:                                            Fees $1,019.00
 Goldman Law Offices, Inc.
 9053 Estate Thomas, Suite I 03
 St. Thomas, VI 00802




                            FIRST PRIORITY MORTGAGE

 THIS MORTGAGE made this           2.~
                                    ~ ay of February, 2023, between the Mortgagor,
 NORTHSHORE VI, LLC, a U.S. Virgin Islands lim ited liabi lity company, with an
 address of P.O. Box 302 147, St. Thomas, VI 00803, (herein referred to as "Borrower"),
 and ANJA SALAMACK of 11 Saraceno, Newport, Cl\. 92657, (herein referred to as
 "Lender").

 Whereas Borrower is indebted to Lender in the principal sum of One Million Dollars
 ($1 ,000,000.00), which indebtedness is evidenced a Promissory Note of even date
 herewith executed by Borrower (herein "Note"), providing for payment as f urthcr
 provided in said Note and attachments.

 To secure to Lender (a) the repayment of the indebtedness evidenced by the Note, the
 payment of all other sums, with interest thereon, advanced in accordance herewith to
 protect the secw-ity of this Mortgage, and the performance of the covenants and
 agreements of Bonower herei n contained, and (b) the repayment of any future advance,
 with interest thereon, made to Borrower by Lender, Borrower docs hereby mortgage to
 Lender the following described property located in St. Thomas, United States Vi rgin
 Islands:

                                  Parcel No. 17-SB Estate St. Peter
                                  No. 2 Little No rthside Quarter
                                  St. Thomas, U.S. Virgin Islands
                                  as shown on P.W.D. No. D9-7184-T003
                                                                                                                 ti
 Together with all improvements now or hereafter erected on the property, and all                                0
                                                                                                                 11
 casements, rights, appurtenances, leases, rents, royalties, mineral, oil and gas rights and
                                                                                                                 #
 profits, water, water rights, and water stock, and all fixtures now or hereafter attached to
                                                                                                                 r•,.l
 the property, all of which, including replacements and additions thereto, shall be deemed                       0
 to be and remain a part of the property covered by this Mortgage; and all of the                                r·.J
                                                                                                                 vJ
 foregoing, together with said property arc herei n referred to as the "Property."                               0
                                                                                                                 0
                                                                                                                 J-',

 Borrower covenants that Borrower is lawfully seized of the estate hereby conveyed and                           ~
                                                                                                                 0
 has the right to mortgage, grant and convey the Property, that the Property is                                  J-',

 unencumbered, and the Borrower wi ll warrant and defend generally the title to the
 Property against all claims and demands, subject to any declarations, easements or
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 rcstn ct10ns listed in a schedule of exceptions to coverage in any title insurance policy
 insuring the Property .

 Borrower shal l promptly pay when due the interest and principal on the indebtedness
 evidenced by the Note, prepayment and late charges as provided in the Note, and the
 principal of and interest on any Future Advances secured by this Mo11gage.

 Subject to applicable law or to a written waiver by Lender, Borrower shall pay to Lender
 on the day monthly installments of interest and the principal amount are payable under
 the Note, until the Note is paid in full. Unless applicable law provides otherwise, all
 payments shall be applied first toward any other sums owing under this Mortgage or the
 rel ated Note, and then toward interest accrued on the Note, if any, and then toward
 principal in the inverse order of their maturity.

 Borrower shall pay all taxes, assessments and other charges, fines and impositions
 attributable to the Property and provide documentation of same to Lender upon request
 by Lender. Borrower shall promptly di scharge any li en, provided that Borrower shall not
 be required to discharge any such lien so long as Borrower shall agree in writing to the
 payment of the obligation secured by such lien in a manner acceptable to Lender, or shall
 in good faith contest such lien by, or defend enforcement of such lien in, legal
 proceed ings which operate to prevent the enfo rcement of the lien or forfeiture of the
 Property or any part thereof.

 Borrower shall be allowed to improve the property, but Borrower shall first obtain all
 necessary permits and otherwise comply with appl icable laws, rules and regulations. If
 Borrower receives insurance proceeds as a result of loss or damage by fire, windstorm,
 earthquake, fl ood, or other casualty, such proceeds shall be used for repairs of the
 Property or for the erection or replacement of any improvements in its or their place. Any
 insurance proceeds not necessary for repair or replacement shall be retained and applied
 by Borrower toward payment or the indebtedness secured hereby, notwithstanding the
 fact that the amount owing hereon may not then be due and payable and the lien created
 by this Mortgage shall be reduced by the amount of such proceeds so applied.

 Borrower shall keep the Property in good repair and shall not commit waste or permit
 impairment or deterioration of the Property. Borrower shall maintain pest and termite
 control services comparable to those previously maintained on the premises by Lender. If
 Borrower fails to perform the covenants and agreements contained in this Mortgage, of if
 any action or proceeding is commenced which materially affects Lender's interest in the
 Property, then Lender at Lender's opti on, upon notice to Borrower, may make such
 appearances, disburse such sums and take such action as is necessary to protect Lender's
 interest, including but not limi ted to disbursement of reasonable attorney's fees and entry
 upon the Property to make repairs. /\ny amounts disbursed by Lender pursuant to this
 paragraph, with interest thereon, sha ll become additional indebtedness or Borrower
 secured by this Mortgage. Unless Borrower and Lender agree to other terms of payment,
 such amounts shall be payable upon notice from Lender to Borrower requesting payment
 thereof, and sha ll bear interest from the date of disbursement at the rate payable from
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 time to time on outstanding principal under the Note unless payment of interest at such
 rate would be contrary to applicable law, in which event such amounts shall bear interest
 at the highest rate permissible under applicable law.

 Lender may make or cause to be made reasonable entries upon and inspections of the
 Property, provided that Lender shall give Borrower reasonable oral notice prior to any
 such inspection specifyi ng reasonab le cause therefore related to Lender's interest in the
 Property .

 The proceeds of any award or claim for damages, direct or consequential, in connection
 with any condemnation or other taking of the Property, or part thereof, or for conveyance
 in lieu of condemnation, are hereby assigned and shall be paid to Lender. In the event of
 a total taking of the Property, the proceeds shall be applied to the sums secured by this
 Mortgage, with the excess, if any, paid to Borrower. In the event of a partial taking of the
 Property, unless Borrower and Lender otherwise agree in writing, there shall be applied
 to the sums secured by thi s Mortgagee such proportion of the proceeds as is equal to that
 proportion which the amount of the sums secured by this Mortgage immediately prior to
 the date of taking bears to the fair market value of the Property immediately prior to the
 date of taking, with the balance of the proceeds paid to Borrower. If the Property is
 abandoned by Borrower, or if, after notice by Lender to Borrower that the condemn or
 offers to make an award or settle a claim for damages, Borrower fails to respond to
 Lender within thirty (30) days after the date such notice is mailed, Lender is authorized to
 collect and apply the proceeds, at Lender's option, either to restoration or repair of the
 Property or to the sums secured by this Mortgage.

 Extension of the time for payment or modification of amo1tization of the sums secured by
 this Mortgage granted by Lender to any successor in interest of Borrower shall not
 operate to re lease, in any manner, the liability of the original Borrower and Borrower's
 successors in interest. Lender shall not be required to commence proceedings against
 such successor or refuse to extend time fo r payment or otherw ise modify amortization of
 the sums secured by this Mortgage by reason of any demand made by the original
 Borrower and Borrower's successors in interest.

 If default shall be made in the payment of any sum of money described in the Note, or of
 any part thereof, or of any payment of any installment of principal or interest due
 hereunder, or of any part thereof, or if default shall be made in the payment of any sum of
 money described in the Note of even date made by the Borrower or of any part thereof, or
 of any payment of any insta llment of principal or interest due thereunder, or of any part
 thereof, or after default of payment of any tax or assessment or after default of any other
 provision of this Mortgage or the Note, for thirty (30) days after written notice sent to
 Borrower via certified mail or delivered by hand that it is due, it shall then be lawful,
 without further notice, for Lender to declare the full amount secured by this Mortgage
 immediately due and payable.

 Borrower shall pay all costs and expenses, including attorneys' fees incurred by Lender
 because of any default by Borrower under this Mortgage or the Note.
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 If the property should fall into decay or deteriorate in condition in any material degree, or
 should Borrower default or be declared bankrupt, or the estate of the Borrower be
 surrendered to the probate court or to a commissioner of bankruptcy, should any required
 insurance premium, or payments, taxes or duties of any kind not be paid timely or if any
 lien shall be filed against the property and the same is not contested or removed within
 thirty (30) days, then, at Lender's option, the whole outstanding and unpaid amount of
 the loan shall, in each case become immed iately due and payable.

 If the property, when foreclosed upon and sold by Lender, should not yield an amount
 sufficient to cover the within loan, including principal, interest and all expenses,
 attorneys ' fees and other fees and charges, then Borrower agrees to pay the balance to
 Lender and a deficiency j udgment shall be entered for the same.

 The holder of this Mortgage, in any action to fo reclose it, shall be entitled to the
 appointment of a receiver, notwi thstanding the adequacy of the security then available to
 Lender.

 As of the date of this Mortgage, as security in addition to the property described in this
 Mortgage, the Borrower hereby abso lutely and unconditionally assigns to the Lender a ll
 of its right, title and interest in and to all leases, oral or written, and any extensions,
 modifications and renewals thereof together w ith any and a ll guarantees of lessee ' s
 performance thereunder and all credits, deposits, claims, options, powers, benefi ts,
 privileges, and other rights arising thereunder, whether now in existe nce or which may
 hereafter come into existence during the term of this Mortgage, or any extension hereof,
 covering the mortgaged property, or any part thereo f (but wi thout an assumption by the
 Lender of liabilities of the Borrower under any such leases by virtue of this assignment),
 and the Borrower hereby absolute ly and unconditionally assigns to the Lender the rents
 and other benefits of the mortgaged property now or hereafter arising from the leases to
 be applied by the Lender in payment of the debt, and of a ll other sums payable under this
 Mortgage. Notw ithstanding the forego ing, so long as no default shall exist and be
 continuing hereunder, the Bonower shall have a license to collect the rents (subject to the
 provis ions of this Mortgage). The Borrower shall hold the rents, in trust for use in
 payment of the debt. The license granted to the Borrower to collect the rents may be
 revoked by the Lender upon any default by the Borrower under the terms of the Note or
 this Mortgage by giving notice of such revocation to the Borrower. I·ollowing such notice
 the Lender may retain and apply the rents toward payment of the debt in such order,
 priority and proportions as the Lender, in its discretion, shall deem proper, or to the
 operation, maintenance and repair of the mortgaged property, irrespective of whether the
 Lender shall have commenced a forec losure of this Mortgage or shall have applied or
 arranged for the appointment of a receiver.

 Borrower shall , w ithin ten (10) days after request in person, or within twenty (20) days
 after request by certi{ied mail, furnish a written statement duly acknowledged by
 Borrower stating the amount due of the Note and whether offsets or defenses exist against
 the indebtedness evidence by the Note.
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 If any action or proceeding be commenced (except an action lo forec lose this Mortgage
 or to collect the debt secured thereby), to which action or proceeding the holder of this
 Mortgage is made a party, or in which it becomes necessary to uphold or defend the lien
 of this Mortgage, all sums paid by the Lender for the expense of any litigation to
 prosecute or defend the rights and lien credited by this Mortgage (including reasonable
 counsel fees) shall be paid by Borrower and any such sum and the interest thereon shall
 be a lien on the property prior to any right, title or interest in or claim upon the property
 attaching or accruing subsequent to the lien of this Mortgage and shall be deemed to be
 secured by this Mortgage.

 J\ny forbearance by Lender in exercising any right or remedy hereunder, or otherwise
 afforded by applicable law, shall not be a waiver of or preclude the exercise of any such
 right or remedy. J\ll remedies provided in this Mortgage are distinct and cumulative to
 any other right or remedy under this Mortgage or afforded by law or equity, and may be
 exercised concurrently, independently or successively.

 The covenants and agreements herein contained shall bind, and the rights hereunder shall
 inure to, the respective successors and assigns of Lender and Borrower, except as
 otherwise expressly provided for herein.

 Except for any notice required under applicable law to be given in another manner, any
 notice provided for in this Mortgage shall be given by mailing such notice by certified
 mail, return receipt requested, to the address of the respective party (Borrower or Lender)
 as contained herein, or at such other address as shall be designated in writing and given in
 a notice of change of address as such notices arc required to be given herein.

 This Mortgage shall be governed by the laws of the United States Virgin Islands.

 Borrower shall be furnished a conformed copy of the Note and of this Mortgage at the
 time of execution of after recordation hereof.

 If all or any part of the Property or an interest therein is sold or transferred by Borrower
 without Lender's prior written consent, excluding (a) the creation of a purchase money
 security interest for househo ld appliances, (b) a transfer by devise, descent or by
 operation of law upon the death of a j oint tenant or (c) the grant of any leasehold interest
 of tlu·ce (3) years or less, not containing an option to purchase, Lender may, at Lender's
 option, declare all the sums secured by this Mortgage to be immediately due and payable.
 Lender shall have waived such option to accelerate if, prior to the sale or transfer, Lender
 and the person to whom the Property is to be sold or transferred reach agreement in
 writing that the credit of such person is satisfactory to Lender and that the interest
 payable on the sums secured by this Mortgage shall be at such rate as Lender shall
 request. If Lender has waived the option to accelerate provided in this paragraph, and if
 Bonowcr's successor in interest has executed a written assumption agreement accepted in
 writing by Lender, Lender shall release Borrower from all obligations under this
 Mortgage and Note.
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 That wherever used in this Mortgage, unless the context requires a contrary construction
 or unless otherwise specifically provided herein, the term "Mortgagor" shall be construed
 as meaning the "Mortgagor, or Mortgagors, and/or any subsequent owner or owners of
 the Mortgaged Property," and the word "Mortgagees" shall be construed as mcarnng
 "Mortgagee, and/or any subsequent ho lder or holders of this Mortgage."

 An event of default shall be the Borrower's failure to perform any of Borrower's
 obligations pursuant to the terms of the Note and/or Mortgage.

 Upon request by Borrower, Lender, at Lender's option prior to discharge of this
 Mortgage, may make Futw-e Advances to Borrower. Such Futw-e Advances, with interest
 thereon, shall be secured by this Mortgage when evidenced by promissory notes stati ng
 that said notes arc secured hereby.

 Upon payment of all sums secured by this Mortgage, Lender sha ll discharge this
 Mortgage, and provide a release of mortgage in recordable form without charge to
 Borrower.


 WITNESSES:                                           BORROWER:
                                                      Northshore VI, LLC, a U.S . V irgin
                                                      Islands limited liability

                                                        =zJ-r ~~ -~
                                                      STEVEN SHORE, Individually and
                                                      as Member




 Territory of the U.S. Virgin Islands         )
                                              ) ss: Acknowledgement
 Division of St. Thomas & St. Jolm            )                                                                           J:1
                                                                                                                          0
        On this  ?~ ~& of February, 2023, before me the undersigned offer, personally
                                                                                                                          t"I

                                                                                                                          =
 appeared STEVEN SHORE., Individually and Member NORTHSI-IORE VI, LLC, a U.S.
 Virgin Islands limited liability company known to me, or satisfactorily proven to be the                                 N
                                                                                                                          0
 person whose name is subscri bed to the within instrument and acknowledged that he                                       r,J
                                                                                                                          (>I
 executed the same for the purposes therein contained.                                                                    0
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                                              - - ~ - - - - - - - - - - - -- .....
                                                                               - -
                                              Notary Public                                                          -            -
                                                 Leigh F. Goldman, Esq.                                           -- .            -
                                                         Notary Public
                                               St. Thomas/St. John, U.S. Virgin Islands
                                                           LNP-120-21
                                              My Commission Expires: December 2, 2025
                                                                                           -- .
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                                                                                                 ~



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 WITNESSES:                                                        BORROWER:
                                                                   Northshore VI, LLC, a U.S. Virgin
                                                                          •mittu- • iIi ty


 Pri nt Name:                      1'u                             ANJA SALJ\MACK, Individually
                                                                   and as Member

~                        dA4Q

 State of _ __._
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                    .1,_;D
                         '"'-'-,'5"""_ _ _ ______,)
                                                ) ss: Acknowledgement
 County of.Ao    0±_9 OM f    d(                 )

        On this Z.1 day of February, 2023, before me the undersigned offer, personally
 appeared ANJ A SALAMACK~ Individually and Member N ORTHSHORE VI, LLC, a
 U.S. Virgin Is lands limited liabili ty company known to me, or satisfactori ly proven to be
 the person whose name is subscribed to the within instrument and acknowledged that she
 executed the same fo r the purposes therein contained.

        In witness w hereof, I hereunto set my hand and official seal.



                           LAUREN A KIRKINDOLL.1➔'--'-...,_,.,,-"'-"--""'-'='-1--J.--...,L-.½--=-r--'--'---:+-'-"'--'--'.\orA­
                                Notary Public
                              STATE OF TEXAS
                            My Comm. Exp. 04-16-23
                            Notary ID# 13017127-7
